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Attorneys for Defendants



                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

BRYCE BABSON, TREVOR BRANDT, JAMES Case No. 20-cv-02370 (MKV)
BUTLER, JESTER CASTRO, ROLAND
HICKS, CHRISTOPHER KRUSE, ROBERT
LALENA, CHARLES LEWIS, MICHAEL T.
SMALDONE, CHRISTOPHER RESSLER, and
GARRETT STRyzs, on behalf of themselves STIPULATION AND PROPOSED
and all others similarity situated,         PROTECTIVE ORDER

                    Plaintiffs,

                    - against-

BOUCHARD TRANSPORTATION CO., INC.,
B. NO. 205 CORP., B. NO. 210 CORP., B. NO.
215 CORP., B. NO. 220 CORP., B. NO. 225
CORP., B. NO. 230 CORP., B. NO. 231 CORP.,
B. NO. 233 CORP., B. NO. 235 CORP., B. NO.
240 CORP., B. NO. 242 CORP., B. NO. 245
CORP., B. NO. 250 CORP., B. NO. 252 CORP.,
B. NO. 260 CORP., B. NO. 262 CORP., B. NO.
264 CORP., B. NO. 265 CORP., B. NO. 270
CORP., B. NO. 272 CORP., B. NO. 280 CORP.,
B. NO. 282 CORP., B. NO. 284 CORP., B. NO.
285 CORP., and B. NO. 295 CORP.

TUG EVENING MIST, In Rem, TUG EVENIN
TIDE, In Rem, TUG BOUCHARD BOYS, In
Rem, TUG EVENING LIGHT, In Rem, TUG
ELLEN S. BOUCHARD, In Rem, TUG
EVENING STAR, In Rem, TUG DENISE A.
BOUCHARD, In Rem, TUG RHEA I.
BOUCHARD, In Rem, TUG CAPT. FRED
BOUCHARD, In Rem, J'UG MORTON S.
BOUCHARD, In Rem, TUG BUSTER


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BOUCHARD, In Rem, TUG MARION C.
BOUCHARD, In Rem, TUG BARBARA E.
BOUCHARD, In Rem, TUG ROBERT J .
BOUCHARD, In Rem, TUG J. GEORGE
BETZ, In Rem, TUG BRENDAN J.
BOUCHARD, In Rem, TUG JANE A.
BOUCHARD, In Rem, TUG MORTONS.
BOUCHARD, In Rem, TUG LINDA LEE
BOUCHARD, In Rem, TUG DANIELLE M.
BOUCHARD, In Rem, TUG KIMM.
BOUCHARD, In Rem, TUG FREDERICK E.
BOUCHARD, In Rem, TUG RALPH E.
BOUCHARD, In Rem, TUG BOUCHARD
GIRLS, In Rem, TUG DONNA J. BOUCHARD,
In Rem, and TUG EVENING BREEZE, In Rem,

THE B. NO. 205, In Rem, THE B. NO. 210, In
Rem, THE B. NO. 215, In Rem, THE B. NO.
2 20, In Rem, THE B. NO. 225, In Rem, THE B.
NO. 230, In Rem, THE B. NO. 231, In Rem,
THE B. NO. 233, In Rem, THE B. NO. 235, In
Rem, THE B. NO. 240, In Rem, THE B. NO.
242, In Rem, THE B. NO. 245, In Rem, THE B.
NO. 250, In Rem, THE B. NO. 252, In Rem,
THE B. NO. 260, In Rem, THE B. NO. 262, In
Rem, THE B. NO. 264, In Rem, THE B. NO.
265, In Rem, THE B. NO. 270, In Rem, THE B.
NO. 272, In Rem, THE B. NO. 280, In Rem,
THE B. NO. 282, In Rem, THE B. NO. 284, In
Rem, THE B. NO. 285, In Rem, and THE B.
NO. 295, In Rem,

                        Defendants.



          WHEREAS, the Parties having agreed to the following terms of confidentiality,
and the Court having found that good cause exists for the issuance of an appropriately
tailored confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil
Procedure, it is hereby

          ORDERED that, the follmving restrictions and procedures shall apply to the
information and documents exchanged by the parties in connection with the pre-trial
phase of this action:


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         1.         Counsel for any party may designate any document or information, in
whole or in part, as confidential if counsel determines, in good faith, that such
designation is necessary to protect the interests of the client in information that is
proprietary, a trade secret or otherwise sensitive non-public information. Information
and documents designated by a party as confidential will be stamped "CONFIDENTIAL."

         2.         The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action.
         0
         .)•        In the event a party challenges another party's designation of
confidentiality, counsel shall make a good faith effort to resolve the dispute, and in the
absence of a resolution, the challenging party may seek resolution by the Court. Nothing
in this Protective Order constitutes an admission by any party that Confidential
Information disclosed in this case is relevant or admissible. Each party reserves the right
to object to the use or admissibility of the Confidential Information.

          4.        The parties should meet and confer if any production requires a
designation of "For Attorneys' or Experts' Eyes Only." All other documents designated as
"CONFIDENTIAL" shall not be disclosed to any person, except:

                    a.     The requesting party and counsel, including in-house counsel;

                    b.     Employees of such counsel assigned to and necessary to assist in the
                           litigation;

                    c.     Consultants or experts assisting in the prosecution or defense of the
                           matter, to the extent deemed necessary by counsel; and

                    d.     The Court (including the mediator, or other person having access to
                           any Confidential Information by virtue of his or her position with the
                           Court).

       5.     Before disclosing or displaying the Confidential Information to any person,
 counsel must:

                    a.     Inform the person of the confidential nature of the information or
                           documents;

                     b.    Inform the person that this Court has enjoined the use of the
                           information or documents by him/her for any purpose other than

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                             this litigation and has enjoined the disclosure of the information or
                             documents to any other person; and

                   c.        Require each such person to sign an agreement to be bound by this
                             Order in the form attached as Exhibit A.

        6.          The disclosure of a document or information without designating it as
"Confidential" shall not constitute a waiver of the right to designate such document or
information as Confidential Information. If so designated, the document or information
shall thenceforth be treated as Confidential Information subject to all the terms of this
Stipulation and Order.

        7.          If a party inadvertently discloses Confidential Information, the party
should immediately inform the other parties and take steps necessary to remediate the
inadvertent disclosure.

        8.              Any Personally Identifying Information ("Pir) (e.g., social security
numbers, financial account numbers, passwords, and information that may be used for
identity theft) exchanged in discovery shall be maintained by the receiving party in a
manner that is secure and confidential and shared only with authorized individuals in a
secure manner. The producing party may specify the minimal level of protection
expected in the storage and transfer of its information. In the event the party who
received PII experiences a data breach, it shall immediately notify the producing party of           •
same and cooperate with the producing party to address and remedy the breach. Nothing
herein shall preclude the producing party from asserting legal claims or constitute a
waiver of legal rights and defenses in the event of litigation arising out of the receiving
party's failure to appropriately protect PII from unauthorized disclosure.

         9.             Pursuant to Federal Rule of Evidence 502, the production of privileged or
work- product protected documents or communications, electronically stored
information ("ESI") or information, whether inadvertent or otherwise, shall not
constitute a waiver of the privilege or protection from discovery in thi~ case or in any
other federal or state proceeding. This Order shall be interpreted to provide the
maximum protection allowed by Federal Rule of Evidence 502(d). Nothing contained
herein is intended to or shal\~erve to limit a party's right to conduct a review of


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documents, ESI or information (including metadata) for relevance, responsiveness
and/or segregation of privileged and/or protected information before production.

          10.         Notwithstanding the designation of information as "Confidential" in
discovery, there is no presumption that such information shall be filed with the Court
under seal. The parties shall follow the Court's procedures for requests for filing under
seaL

          n.          At the conclusion oflitigation, Confidential Information and any copies
thereof shall be promptly (and in no event later than 30 days after entry of final
judgment no longer subject to further appeal) returned to the producing party or certified
as destroyed, except that the parties' counsel shall be permitted to retain their working
files on the condition that those files will remain protected.

           12.        Nothing herein shall preclude the parties from disclosing material
designated to be Confidential Information if otherwise required by law or pursuant to a
valid subpoena.




Dated:      Jut'le 4th         2020             Counsel for Defendants:   -½; Ccl:
                                                                           Aaron C. Carter
Dated: - - - - - - - -

New York, New York

                                                        SO ORDERED


                                                        Hon. Mary Kay Vyskocil, U.S.D.J.




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                                        Exhibit A

                                       Agreement

         I have been informed by counsel that certain documents or information to be
disclosed to me in connection with the matter entitled have been designated as
confidential. I have been informed that any such documents or information labeled
"CONFIDENTIAL" are confidential by Order of the Court.

         I hereby agree that I will not disclose any information contained in such
documents to any other person. I further agree not to use any such information for any
purpose other than this litigation.

DATED:




Signed in the presence of:




(Attorney)




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